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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

DANIEL L. JOHNSON,                            )
                                              )
                             Plaintiff,       )
                                              )
v.                                            )          No. CIV 18-152-RAW-SPS
                                              )
MARTY GARRISON, et al.,                       )
                                              )
                             Defendants.      )


                                 OPINION AND ORDER
        Plaintiff Daniel L. Johnson appealed the Opinion and Order dismissing this action to

the Tenth Circuit Court of Appeals. The appellate court affirmed in part, and reversed and

remanded for further proceedings concerning Plaintiff’s Grievance No. 2016-1001-00106-G.
Johnson v. Garrison, No. 19-7018, slip op. at 12 (10th Cir. Mar. 24, 2020) (Dkt. 39).

        ACCORDINGLY, Defendants are directed to file within twenty-one (21) days a

response to the remanded issue. Plaintiff is granted twenty-one (21) days to file a reply to
Defendants’ response, if appropriate.

        IT IS SO ORDERED this 17th day of April 2020.
